

People v Brignoni (2021 NY Slip Op 05303)





People v Brignoni


2021 NY Slip Op 05303


Decided on October 05, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 05, 2021

Before: Renwick, J.P., Gische, Kapnick, Kennedy, Shulman, JJ. 


Ind. No. 1735/18 Appeal No. 14263 Case No. 2019-3915 

[*1]The People of the State of New York, Respondent, 
vJoshua Brignoni, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Jody Ratner of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Philip V. Tisne of counsel), for respondent.



Appeal from judgment, Supreme Court, New York County (Neil Ross, J.), rendered December 12, 2018, convicting defendant, upon his plea of guilty, of criminal sale of a controlled substance, and sentencing him to a term of three years, unanimously dismissed as moot.
This appeal, claiming excessiveness of sentence, is moot because defendant has completed his entire sentence, including postrelease supervision.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 5, 2021








